    Case 2:10-cr-00121-RLH-RJJ   Document 192   Filed 03/23/12   Page 1 of 2




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 7
     UNITED STATESOFAMERICA,                             )
 8                                                       )
                        Plaintiff,                       )
 9                                                       )
             v.                                          )            2:10-CR-121-RLH IRJJI
10                                                       )
             ORNELAS,                                    )
11                                                       )
                        Defendant.                       )
12

13                                   O R DER O F FO RFE ITU R E

14       TMsCourtfotmd on June22,20l1,thatM ARIA ORNELAS shallpay acrim inalforfeiture

15 moneyjudgmentof$20,000.00inUnitedStatesCurrency,purstmnttoFed.R.Crim.P.32.2(18(1)
16 and(2);Titlel8,UnitedSGtesCode,Section981(a)(1)(C)and-ritle28,UnitedStatesCode,Section
17 2461(c);andTitle18,United SutesCode,Section 982(a)(2)(A).
18       THEREFORE,IT ISHEREBY ORDERED,ADJUDGED,AN D DECREED thattheUnited

19 Statesrecoverfrom          ORNELAS acriminalforfeituremoneyjudgmentin theamountof
20 $20,000.00inUnitedStatesCurrencypursuanttoFed.R.Crim.P.32.2(b)(4)(A)and(B);Title18,
21 United SGtesCode,Section 981(a)(1)(C)and Title28,United StatesCode,Section 2461(c);and
22 Title 18,United StatesCode,Section982(a)(2)(A).
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